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                    1 ALAN C. CHEN, (SBN 224420)
                       acchen@zuberlaw.com
                    2 HEMING XU (SBN 302461)
                       hxu@zuberlaw.com
                    3 ZUBER LAWLER & DEL DUCA LLP
                      350 S. Grand Avenue, 32nd Floor
                    4 Los Angeles, California 90071
                      Telephone: (213) 596-5620
                    5 Facsimile: (213) 596-5621
                  6 Attorneys for Defendants
                    Pin Shine Industrial Co., Ltd.,
                  7 Suzhou Pinshine Technology Co., Ltd., and
                    Suzhou Sunshine Technology Co., Ltd.
                  8
                                           UNITED STATES DISTRICT COURT
                  9
                                         SOUTHERN DISTRICT OF CALIFORNIA
                 10
                    FOURTE INTERNATIONAL                     Case No. 3:18-cv-00297-BAS-BGS
                 11 LIMITED BVI, a British Virgin Islands
                    company; FOURTE                          DEFENDANTS’ OPPOSITION TO
                 12 INTERNATIONAL SDN.BHD., a                PLAINTIFFS’ MOTION FOR
                    Malaysia company,                        COURT ORDER AUTHORIZING
                 13                                          ALTERNATIVE METHODS OF
                                 Plaintiffs,                 SERVICE ON DEFENDANTS
                 14                                          SUZHOU PINSHINE
                          v.                                 TECHNOLOGY CO., LTD.;
                 15                                          SUZHOU SUNSHINE
                    PIN SHINE INDUSTRIAL CO., LTD., TECHNOLOGY CO., LTD.; AND
                 16 a Taiwan business company; SUZHOU        PIN SHINE INDUSTRIAL CO.,
                    PINSHINE TECHNOLOGY CO.,                 LTD.
                 17 LTD., a Peoples Republic of China
                    company; SUZHOU SUNSHINE                 [Filed Concurrently with Declarations
                 18 TECHNOLOGY CO., LTD., a Peoples          and Request for Judicial Notice In
                    Republic of China company; BOBBIN        Support Thereof]
                 19 & TOOLING ELECTRONICS
                    INTERNATIONAL COMPANY OF                 Judge: Hon. Cynthia Bashant
                 20 BVI, a British Virgin Islands company,   Date: December 3, 2018
                 21               Defendants.                     Complaint Filed: February 7, 2018
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                    1 I.       INTRODUCTION
                    2          Specially appearing1 Defendants Suzhou Pinshine Technology Co., Ltd. and
                    3 Suzhou Sunshine Technology Co., Ltd. (collectively, “Suzhou Defendants”) and Pin
                    4 Shine Industrial Co., Ltd. (“Pin Shine Taiwan”) (collectively with Suzhou
                    5 Defendants, “Defendants”) oppose Plaintiffs’ Fourte International Limited BVI and
                    6 Fourte International SDN.BHD’s (collectively, “Plaintiffs”) Motion for Order
                    7 Authorizing Alternative Methods of Service (the “Motion”).
                    8          Plaintiffs’ Motion is without merit and contravenes the Court’s previous order
                    9 by unnecessarily seeking authorization for alternative service when Plaintiffs have
                 10 not even attempted service via methods that are available without Court order. [See
                 11 Dkt. 13 at 4:20-25.] Instead, as revealed through their own words, Plaintiffs have
                 12 declined to apply their own understanding of best practice regarding service so as to
                 13 manufacture alleged service difficulties to support the instant Motion.
                 14            Alternative service is authorized when Plaintiffs need to serve evasive
                 15 defendants, not merely when it would be more convenient for Plaintiffs. Here,
                 16 Defendants have not been evasive. To the contrary, Defendants have been actively
                 17 arbitrating with Plaintiffs, and Pin Shine Taiwan intends to bring a motion to compel
                 18 arbitration as to the above-captioned dispute. In sum, Plaintiffs’ Motion wastefully
                 19 prioritizes the Plaintiffs’ resources over the Court’s and seeks relief to rescue them
                 20 from their own unjustified refusal to serve in good faith via available methods.
                 21
                        1
                 22       Defendants’ special appearance in this action is intended to challenge Plaintiffs’
                        requested manner of service of process, and should not be construed as
                 23     accomplishing service or submitting to the Court’s jurisdiction. If and once
                        Plaintiffs effectuate service, Defendants intend to assert, and do not waive,
                 24     applicable service of process and jurisdictional defenses. [See Dkt. 13 (Order
                        Denying Ex Parte Motions for Order Authorizing Alternative Means of Service of
                 25     Summons and Complaint) at 3:23 – 4:11]. See also Am. Ass’n of Naturopathic
                        Physicians v. Hayhurst, 227 F.3d 1104, 1107 (9th Cir. 2000) (defendant preserved
                 26     right to bring a Rule 12(b)(5) motion when he raised an insufficient service of
                        process defense in his previous motion); Twin Rivers Eng’g, Inc. v. Fieldpiece
                 27     Instruments, Inc., No. CV1604502BROMRWX, 2016 WL 7479373, at *5 (C.D.
                        Cal. Sept. 8, 2016) (where, in its “first appearance in th[e] action,” defendant
                 28     “explicitly stated that it intended to assert the defense of insufficient service of
                        process . . . it did not waive its right to challenge Plaintiff’s method of service”).
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                    1 II.       STATEMENT OF FACTS AND PROCEDURAL HISTORY
                    2           A.     Plaintiffs have never attempted service through available methods,
                    3                  and instead, filed a series of substantively and procedurally
                    4                  deficient ex parte motions for alternative service.
                    5           Plaintiffs initiated suit on February 7, 2018. [Dkt. 1.] Over nine months
                    6 later, Plaintiffs have still not even attempted to properly serve Defendants via
                    7 methods that do not require judicial intervention. § IV.A., infra. Instead, despite
                    8 the diversity of options available to effectuate service without Court order, Plaintiffs
                    9 have relentlessly, and without justification, sough judicial intervention via a series
                 10 of ex parte motions (collectively, “Ex Parte Motions”), none of which comply with
                 11 the notice requirements of L.R. 83.3(g)2 and this Court’s Standing Order ¶ 6.3
                 12             On March 13, 2018, Plaintiffs moved ex parte for Court authorization to serve
                 13
                 14     2
                            L.R. 83.3(g) (emphasis added) provides:
                 15             A motion for an order must not be made ex parte unless it appears by
                 16             affidavit or declaration (1) that within a reasonable time before the motion
                                the party informed the opposing party or the opposing party's attorney when
                 17             and where the motion would be made; or (2) that the party in good faith
                 18             attempted to inform the opposing party and the opposing party's attorney but
                                was unable to do so, specifying the efforts made to inform them; or (3) that
                 19             for reasons specified the party should not be required to inform the opposing
                 20             party or the opposing party's attorney.
                        3
                 21         This Court’s Standing Order ¶ 6 (emphases added) provides:

                 22             Before filing any ex parte application, counsel must contact the opposing
                                party to meet and confer regarding the subject of the ex parte application. All
                 23             ex parte applications must comply with Civil Local Rule 83.3(h). The
                 24             declaration required by Civil Local Rule 83.3(h) must document the
                                following: (1) efforts to contact opposing counsel, (2) counsel’s good faith, in
                 25             person or by telephone meet-and confer efforts to resolve differences with
                 26             opposing counsel, and (3) opposing counsel’s general position regarding the
                                ex parte application. Any ex parte application filed with the Court must be
                 27             served on opposing counsel via facsimile, electronic mail with return receipt
                 28             requested, or overnight mail.

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                    1 Pin Shine Taiwan and Bobbin & Tooling Electronics International Company
                    2 (“Bobbin”) via mail. [Dkt. 3 at 2:1-7.] Contra L.R. 83.3(g) and Standing Order ¶ 6,
                    3 Plaintiffs failed to: (1) timely provide this first ex parte motion to either Pin Shine
                    4 Taiwan or Bobbin; and (2) attach a declaration regarding any good faith efforts to
                    5 notify and confer with nonmoving defendants. Declaration of Alan Chen (“A. Chen
                    6 Decl.”) ¶ 2. [See generally Dkt. 3 (no declaration).] The Court granted this ex parte
                    7 motion [Dkt. 4] because it was “unopposed.”4 [Dkt. 13 at 2:3-8.] Ultimately, an
                    8 unopposed entry of default was entered against Bobbin,5 and Pin Shine Taiwan
                    9 remains unserved.6 [Dkt. 13 at 2:3-8; Dkt. 16 (entry of default).]
                 10           Then, on March 22, 2018 and March 30, 2018, Plaintiffs moved ex parte for
                 11 authorization to serve the Suzhou Defendants via mail and personal delivery to
                 12 counsel, respectively. [Dkt. 5 at 2:1-9 (mail); Dkt. 9 at 2:1-9 (personal delivery).]
                 13 Despite Plaintiffs’ disingenuous and obfuscating attempts to suggest otherwise,
                 14 Plaintiffs seemed to have deliberately failed to comply with the procedural notice
                 15 and meet and confer requirements of the Local Rules and this Court’s Standing
                 16
                 17     4
                     As explained in Section IV.A.2.a., infra, Defendants respectfully submit that
                 18 service of Pin Shine Taiwan via Rule 4(f)(2)(C)(ii), which the Court authorized,
                    [Dkt. 4] is improper because Taiwanese law prohibits service under Rule
                 19 4(f)(2)(C)(ii).
                        5
                 20   Despite Plaintiffs’ egregious and consistent failures to comply with procedural
                    rules, Plaintiffs have refused to set aside the entry of default against Bobbin, and
                 21
                    Bobbin accordingly intends to move to set aside the entry of default against it for
                 22 good cause. A. Chen. Decl. ¶ 6 Fed. R. Civ. P. (“Rule”) 55(c) (“The court may set
                    aside an entry of default for good cause.”).
                 23
                    6
                      Although the Court states that Pin Shine Taiwan was not served because it refused
                 24 service, [Dkt. 13 at 2:3-8] Pin Shine Taiwan respectfully notes that it is currently
                 25 unaware of any internal records reflecting this service attempt. A. Chen Decl. ¶ 5.
                    Importantly, the Court’s records indicate that mail service was not effected to
                 26 anyone in particular at Pin Shine Taiwan. [Dkt. 11 at 1.] This is particularly
                 27 problematic because Fourte should have known to whom the package should have
                    been specifically addressed to, such that Fourte’s service efforts were not reasonably
                 28 calculated to effectuate notice and service. A. Chen Decl. ¶ 5.

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                    1 Order to deprive Defendants’ of any meaningful opportunity to respond. [Dkt. 6 at
                    2 3:1-22.; Dkt. 10 at 4:24 – 6:16.] Indeed, Plaintiffs were indisputably aware by
                    3 March 28, 2018 of Defendants’ special appearance through counsel in the above-
                    4 captioned dispute [Dkt. 6] and still inexplicably failed to warn Defendants’ of their
                    5 March 30, 2018 ex parte motion. [D.E. 10-1 ¶¶ 2-9.]
                    6        B.     Per the Court, Plaintiffs’ ex parte motions lack substantive merit
                    7               because Plaintiffs did not avail themselves of service methods that
                    8               were available without judicial intervention.
                    9        On April 11, 2018, this Court denied Plaintiffs’ second and third ex parte
                 10 motions. [Dkt. 4 at 4:26-27.] After preliminarily noting that Plaintiffs raised a
                 11 procedurally impermissible argument, [id. at 3:20-23] the Court concluded that
                 12 Plaintiffs’ ex parte motions lacked substantive merit because Plaintiffs failed to
                 13 show “that the circumstances of this action necessitate the Court’s intervention.”
                 14 [Id. at 4:12-15 (emphasis added).] In particular, Plaintiffs failed to “allege[] any
                 15 facts” showing “that the available methods of service have failed to affect [sic]
                 16 service, that this case is of particular urgency requiring alternative service methods,
                 17 or any other facts to support their requests.” [Id. at 4:20-23 (emphases added).]
                 18 “Instead, Plaintiffs only state that they attempted to serve a ‘waiver of service of
                 19 summons packet’ on Pinshine by Federal Express, which Pinshine refused.” [Id. at
                 20 4:23-25 (emphasis added).] This instant Motion followed, which again prioritizes
                 21 the Plaintiffs’ convenience over the Court’s.
                 22 III.     LEGAL STANDARD
                 23          A.     Rule 4(f) provides various methods of service.
                 24          Foreign defendants may be served through “any internationally agreed means
                 25 of service that is reasonably calculated to give notice, such as those authorized by
                 26 the Hague Convention on the Service Abroad of Judicial and Extrajudicial
                 27 Documents.” Rule 4(f)(1).
                 28          “[I]f there is no internationally agreed means, or if an international agreement

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                    1 allows but does not specify other means” service may be effected
                    2        [B]y a method that is reasonably calculated to give notice:
                    3               (A) as prescribed by the foreign country's law for service in that
                    4        country in an action in its courts of general jurisdiction;
                    5               (B) as the foreign authority directs in response to a letter rogatory or
                    6        letter of request; or
                    7               (C) unless prohibited by the foreign country's law, by:
                    8               (i) delivering a copy of the summons and of the complaint to the
                    9        individual personally; or
                 10                 (ii) using any form of mail that the clerk addresses and sends to the
                 11          individual and that requires a signed receipt[.]
                 12 Rule 4(f)(2).
                 13          Last, Rule 4(f)(3) (emphasis added) allows service of foreign defendants “by
                 14 other means not prohibited by international agreement, as the court orders.”
                 15          B.     Movants must demonstrate that judicial intervention is necessary
                 16                 the avail themselves of Rule 4(f)(3).
                 17          “A plaintiff must seek and obtain prior court approval for a requested
                 18 alternative method of serving process under [Rule 4(f)(3).]” Tart Optical
                 19 Enterprises, LLC v. Light Co., No. LACV1608061JAKMRWX, 2017 WL 5957728,
                 20 at *6 (C.D. Cal. Sept. 27, 2017). “Although a plaintiff ‘need not have attempted
                 21 every permissible means of service of process before petitioning the court …’ a
                 22 plaintiff must show that ‘facts and circumstances of the present case necessitate[ ]
                 23 the court’s intervention.’ ” Id. (emphases added) (quoting Rio Props., Inc. v. Rio
                 24 Intern. Interlink, 284 F.3d 1007, 1016 (9th Cir. 2002)); California Bd. Sports, Inc. v.
                 25 G.H. Dijkmans Beheer B.V., No. CIV.09CV1855LRBB, 2009 WL 3448456, at *1
                 26 (S.D. Cal. Oct. 21, 2009) (same). [Accord Dkt. 13 at 4:13-15 (“The Court finds that
                 27 Plaintiffs have not shown that the circumstances of this action necessitate the
                 28 Court’s intervention.”) (emphasis added).]

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                    1 IV.    LEGAL ARGUMENT
                    2        A.     Plaintiffs fail to demonstrate that judicial intervention is necessary
                    3               because they have not even attempted service via available
                    4               methods.
                    5        Plaintiffs have not attempted in good faith to serve any Defendant through
                    6 methods that are available without judicial intervention, such that Plaintiffs can
                    7 neither legally nor logically assert “any facts” showing “that the available methods
                    8 of service failed to affect [sic] service.” [Dkt. 13 at 4:20-25 (emphasis added).]
                    9 Instead, Plaintiffs seem to have deliberately failed to comply with the letter and
                 10 spirit of available service methods, so as to manufacture service of process
                 11 difficulties that the Plaintiffs frivolously assert excuse them from their obligation
                 12 not to needlessly trouble the Court for unjustified intervention. Put differently,
                 13 Plaintiffs’ instant Motion seeks relief based on Plaintiffs’ own wrongdoing.
                 14                 1.    Even though the Plaintiffs’ own exhibit explains how to serve
                 15                       Chinese defendants, Plaintiffs inexcusably do not even attempt
                 16                       service of the Suzhou Defendants via the Hague Convention.
                 17          Rule 4(f)(1) expressly contemplates service of Chinese defendants via the
                 18 Hague Convention and Plaintiffs expressly acknowledge that China is a signatory of
                 19 the Hague Convention. [Dkt. 21-1 at 4:14-15.] Because the Suzhou Defendants are
                 20 indisputably Chinese, [id. at 3:4-7] and because Plaintiffs neither attempted to
                 21 utilize the Hague Convention to service the Suzhou Defendants nor adequately
                 22 explain their failure to do so, Plaintiffs fail to demonstrate that relief under Rule
                 23 4(f)(3) is necessary as to the Suzhou Defendants. Moreover, Plaintiffs’ rationale for
                 24 Rule 4(f)(3) relief—that China’s Ministry of Justice will not serve papers containing
                 25 references to Taiwan—is contradicted by their own papers, untested, and
                 26 conclusory, so as to be insufficient as a matter of law for judicial intervention.
                 27          Although Plaintiffs vaguely assert they have “undertaken efforts to effect
                 28 service on” the Suzhou Defendants, it appears Plaintiffs have not attempted service

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                    1 via the Hague Convention. [Dkt. 21-3 ¶ 5.] Instead, Plaintiffs’ so-called “efforts”
                    2 seem not to have gone beyond (1) “retain[ing]” a “process service company” and (2)
                    3 “consult[ing]” various sources for service advice. [Id.] Plaintiff’s excuse for not
                    4 going further seems to be that the “Chinese Ministry of Justice will refuse to process
                    5 or approve service of any legal documents that reference Taiwan … because China
                    6 does not recognize Taiwan.” [Id.] The frivolousness of this excuse is demonstrated
                    7 by Plaintiffs’ own filing, which explains that service may be effected if Plaintiffs
                    8 simply refer to “Taiwanese defendants” as “foreign corporations.” [Id. ¶ 6, Exhibit
                    9 A, at 4.] Plaintiffs conveniently omit this work-around in their memorandum. [See
                 10 generally Dkt. 21-1.] In sum, Plaintiffs’ contention that they have “no option but to
                 11 seek the Court’s intervention” is patently false. [Dkt. 21-1 at 8:12-13.] See also,
                 12 e.g., CYBERsitter, LLC v. People's Republic of China, No. CV 10-38-JST (SHX),
                 13 2010 WL 11549350, at *4 (C.D. Cal. Sept. 13, 2010) (explicitly recognizing how
                 14 plaintiffs may serve via the Hague Convention in China even if the documents
                 15 referenced Taiwan)
                 16           Plaintiffs’ Motion as to the Suzhou Defendants can be denied solely on the
                 17 ground that Plaintiffs failed to actually attempt service of the aforesaid parties via
                 18 the Hague Convention and inexplicably failed to heed the advice of their own
                 19 exhibit. [Dkt. 21-3 ¶ 6, Exhibit A, at 4 (explaining how to serve).] Numerous
                 20 decisions nationwide deny Rule 4(f)(3) relief when Plaintiffs do not attempt service
                 21 through available methods, such as under the Hague Convention.7 Indeed, courts
                 22
                 23     7
                          See, e.g., Utterkar v. Ebix, Inc., No. 14-CV-02250-LHK, 2015 WL 1254768, at *7
                 24     (N.D. Cal. Mar. 18, 2015) (dismissing defendant because plaintiff “did not comply
                        with either the Hague Convention or Indian law in attempting to serve”); Gateway
                 25     Overseas, Inc. v. Nishat (Chunian) Ltd., No. 05 CV 4260 (GBD), 2006 WL
                 26     2015188, at *4 (S.D.N.Y. July 13, 2006) (“Despite the Court’s guidance … plaintiff
                        made no attempt to serve defendant Nishat through means comporting with the
                 27     Hague Convention.”) (emphasis added); see also Tart, 2017 WL 5957728, at *6
                 28     (“Plaintiff shall forthwith commence the process … pursuant to the Hague

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                    1 have held that the Rule 4(f)(3) movants should make multiple service attempts, even
                    2 though such attempts may increase time and costs, because the Hague Convention
                    3 exists for a reason and should not be so easily skirted.8 See, e.g., Blue Underground
                    4 Inc v. Caputo, No. CV 14-1343-GW(PJWX), 2014 WL 12573679, at *4 (C.D. Cal.
                    5 Sept. 8, 2014) (“[A]llowing First Line to simply serve Surf by way of Federal
                    6 Express because it has already done so once would permit a plaintiff to skirt the
                    7 requirements of the Hague Convention rather easily in many cases. A rejection of
                    8 First Line’s request may lead to added expense and some measure of delay in
                    9 litigating the Counterclaim in this case (and forestall First Line's efforts to proceed
                 10 by way of preliminary relief), but the Hague Convention exists for a reason.”
                 11 (emphases added)).
                 12          Moreover, given that Plaintiffs’ assertion of Hague Convention service
                 13 futility is untested and self-contradicted by their own filings, [Dkt. 21-3 ¶ 6,
                 14 Exhibit A, at 4] Plaintiffs’ wholly conclusory (and incorrect) assertion of the futility
                 15 of service is insufficient as a matter of law for relief under Rule 4(f)(3). Cf. Arista
                 16 Records LLC v. Media Servs. LLC, No. 06 CIV. 15319NRB, 2008 WL 563470, at
                 17 *1 (S.D.N.Y. Feb. 25, 2008) (“[A] plaintiff seeking relief under Rule 4(f)(3) must
                 18 adequately support the request with affirmative evidence of the lack of judicial
                 19 assistance by the host nation-conclusory assertions of the futility of Hague service
                 20 are unavailing.”) (emphasis added);9 see Gateway, 2006 WL 2015188, at *4 (“In
                 21
                 22 Convention … A failure to comply … will result in the dismissal.”).
                    8
                 23 Accord Rule 4 1993 Advisory Committee Notes (“The Hague Convention
                    furnishes safeguards against the abridgment of rights of parties through
                 24 inadequate notice … [T]here have been occasions when the signatory state was
                 25 dilatory or refused to cooperate for substantive reasons. In such cases, resort may be
                    had to the provision set forth in subdivision (f)(3).” (emphases added)).
                 26 9
                      In Arista, 2008 WL 563470 the “record [wa]s plain” that Russia and the United
                 27 States “suspended” “judicial cooperation” under the Hague Convention such that
                 28 relief under Rule 4(f)(3) is justified. Here, Plaintiffs’ own exhibit demonstrates that

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                    1 the September conference, plaintiff represented to the Court that it was informed
                    2 that an attempt to serve through Pakistan's central authority, pursuant to the
                    3 Hague Convention, would be futile. Plaintiff's mere assertion that attempting to
                    4 serve defendant Nishat through the Hague Convention would be futile is an
                    5 insufficient defense to defendant's 12(b)(5) motion.”) (emphasis added).
                    6               2.    Plaintiffs inexcusably fail to serve Pin Shine Taiwan under
                    7                     available methods.
                    8        Plaintiffs assert that relief under Rule 4(f)(3) is proper as to Pin Shine Taiwan
                    9 because they attempted service once under Rule 4(f)(2)(C)(ii). [See Dkt. 3 at 2:1-13
                 10 (moving for service via Rule 4(f)(2)(C)(ii)); Dkt. 21-1 at 3:8-11 (referencing service
                 11 attempt via “Court Clerk’s service package”).] This argument is without merit.
                 12          First, because (1) Plaintiff’s prior service attempt under Rule 4(f)(2)(C)(ii) is
                 13 expressly prohibited by Taiwanese law and (2) Plaintiff never attempted to serve Pin
                 14 Shine Taiwan through other available means, such as means prescribed by
                 15 Taiwanese law,10 Plaintiffs wholly failed to properly serve Pin Shine Taiwan. This
                 16 precludes Rule 4(f)(3) relief. See note 7, supra (plaintiffs must attempt service
                 17 through other means, including means prescribed by foreign law, before being able
                 18 to demonstrate that Rule 4(f)(3) judicial intervention is necessary).
                 19          Second, even if Rule 4(f)(2)(C)(ii) service is proper (which it is not),
                 20 Plaintiffs fail to establish that they are entitled to relief under Rule 4(f)(3) because
                 21 Pin Shine Taiwan is currently unaware of any internal records indicating an attempt
                 22 to serve it via mail. Note 6, supra. Also, even if Pin Shine Taiwan did receive the
                 23 Court Clerk’s service package, a single service attempt is insufficient to show that
                 24 judicial intervention is necessary.
                 25
                 26 Plaintiffs have options available for working around the alleged issue of Plaintiffs’
                    pleading papers containing references to Taiwan. [Dkt. 21-3 ¶ 6, Exhibit A, at 4.]
                 27
                    10
                       See, e.g., Rule 4(f)(2) (providing inter alia that Taiwanese defendants may be
                 28 served via methods “prescribed by” Taiwanese law).

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                    1        In any event, a decision regarding Rule 4(f)(3) relief may be unnecessary.
                    2 Plaintiff Fourte International Ltd. (“Fourte”) and Pin Shine Taiwan have executed
                    3 an agreement to arbitrate. A. Chen Decl. ¶ 3, Exhibit 1 at 26-27. Pin Shine Taiwan
                    4 intends to enforce this agreement and move to compel arbitration as to the above-
                    5 captioned dispute. See, e,g., Sompo Japan Ins. Co. of Am., Inc. v. I-Sheng Elec.
                    6 Wire & Cable, Co., No. CV075984JFWPJWX, 2008 WL 11342687, at *3 (C.D.
                    7 Cal. Feb. 7, 2008) (reluctantly granting plaintiff a “further opportunity to serve
                    8 Defendant” but noting that because plaintiff “has formally initiated arbitration in
                    9 Hong Kong” and represented to the court “its intention to seek a stay of this action,”
                 10 plaintiff must, per court order “file a Motion to Stay this Action Pending
                 11 Arbitration”)
                 12                        (a)   Taiwanese law expressly prohibits service under Rule
                 13                              4(f)(2)(C)(ii).
                 14          Under Rule 4(f)(2)(C)(ii), service may be effected “using any form of mail
                 15 that the clerk addresses and sends to the individual and that requires a signed
                 16 receipt” “unless prohibited by the foreign country’s law.” (Emphasis added.)
                 17 Taiwanese law expressly prohibits service via Rule 4(f)(2)(C)(ii) because the
                 18 Taiwan Code of Civil Procedure (“Taiwan CCP”) expressly
                 19 prohibits service by mail that excludes the involvement of Taiwanese courts.
                 20 Request for Judicial Notice ¶ 1, Exhibit 1; Declaration of Wendy Hsieh (“W. Hsieh
                 21 Decl.”) ¶ 2; see also Sompo Japan Ins. Co. of Am., Inc. v. I-Sheng Elec. Wire &
                 22 Cable, Co., No. CV075984JFWPJWX, 2008 WL 11343361, at *2 (C.D. Cal. Jan. 3,
                 23 2008), order amended on reconsideration on other grounds, No.
                 24 CV075984JFWPJWX, 2008 WL 11342687 (C.D. Cal. Feb. 7, 2008) (“The
                 25 mandatory language employed in the relevant Taiwanese statutes impliedly, if not
                 26 expressly, prohibits service [under Rule 4(f)(2)(C)(ii)]. In the absence of any
                 27 authority to the contrary, the Court finds that Plaintiff has failed to meet its burden
                 28 of demonstrating that service was proper.”)

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                    1                      (b)   Despite retaining a service company, Plaintiffs failed to
                    2                            properly serve Pin Shine Taiwan through available means.
                    3        Plaintiffs failed to properly serve Pin Shine Taiwan through available means
                    4 that do not necessitate judicial intervention. Accordingly, Rule 4(f)(3) relief is
                    5 improper; it is not the Court’s job to perform the legal spade work necessary to
                    6 enable the Plaintiffs to figure out how they may effect service. Note 7, supra; see
                    7 also Emine, 2008 WL 5000526, at *5 (“Lastly, the court declines Emine’s request
                    8 that it direct service by other means not prohibited by international agreement as
                    9 permitted by Rule 4(f)(3). It is not the court’s role to figure out what other means of
                 10 service are available or whether those means are or are not prohibited by any
                 11 international agreement.”).
                 12          First, because Plaintiffs do not allege that they attempted mail service on Pin
                 13 Shine Taiwan with the assistance of Taiwanese courts, Plaintiffs have not properly
                 14 served Pin Shine Taiwan via mail. See generally Dkt. 21-1; cf. Emine Tech. Co. v.
                 15 Aten Int'l Co., No. C 08-3122 PJH, 2008 WL 5000526, at *3 (N.D. Cal. Nov. 21,
                 16 2008) (“Emine has not shown that the clerk delegated any execution officer or post
                 17 office for the purpose of mailing service to Aten. Thus, Emine’s attempted service
                 18 through either international or Taiwanese mail did not comport with the
                 19 requirements of Rule 4(f)(2)(A).”).
                 20          Second, Plaintiffs failed to properly serve Pin Shine Taiwan because they
                 21 failed to avail themselves of other available means of service, such as the letters
                 22 rogatory process provided under Taiwanese law and Rule 4(f)(2). Sompo, 2008 WL
                 23 11343361, at *2 (“[U]nder Rule 4(f)(2), the proper method to effectuate service in
                 24 Taiwan is through the letter rogatory procedure.”).
                 25          Defendants further note that Plaintiffs’ failures to properly serve Pin Shine
                 26 Taiwan are particularly egregious in light of their representation that they can and
                 27 have retained a company that specializes in international service of process. [Dkt.
                 28 21-3 ¶ 5.] In light of the supposed expertise they have at their fingertips, Plaintiffs

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                    1 mysteriously fail to explain why they did not even attempt to serve Pin Shine
                    2 Taiwan via methods expressly provided by Taiwanese and United States law that do
                    3 not require judicial intervention.
                    4                      (c)    Even if service via Rule 4(f)(2)(C)(ii) was proper,
                    5                             Plaintiffs’ sole attempt is insufficient.
                    6         Even assuming arguendo that Rule 4(f)(2)(C)(ii) service on Pin Shine Taiwan
                    7 is proper (which it is not), Plaintiffs still fail to demonstrate that relief under Rule
                    8 4(f)(3) is necessary and proper. First, Pin Shine Taiwan is currently unaware of any
                    9 internal records indicating that there was an attempt to serve it via mail; moreover,
                 10 the service attempt was not addressed to any particular Pin Shine Taiwan agent,
                 11 even though Fourte knew to whom they should have addressed the matter to. Note
                 12 6, supra. Thus, Plaintiffs’ attempt does not justify Rule 4(f)(3) relief. Cf. Eclipse
                 13 Grp. LLP v. Fortune Mfg. Co., No. 14CV0441-GPC-WVG, 2014 WL 6907897, at
                 14 *3 (S.D. Cal. Dec. 8, 2014) (granting motion to set aside default judgment where
                 15 “the return receipt [wa]s not signed by Defendant” and “there [wa]s not other
                 16 satisfactory evidence that the summons and complaint were delivered”).
                 17           Second, even if the Plaintiffs truly attempted service, one alleged attempt is
                 18 insufficient to show that judicial intervention is necessary. See, e.g., Blue, 2014 WL
                 19 12573679, at *4 (one attempt insufficient to grant relief under Rule 4(f)(3)); cf.
                 20 Telebrands Corp. v. GMC Ware, Inc., No. CV1503121SJOJCX, 2016 WL 6237914,
                 21 at *5 (C.D. Cal. Apr. 5, 2016) (“Ordinarily ... two or three attempts ... should fully
                 22 satisfy the requirement of reasonable diligence and allow substituted service to be
                 23 made [in lieu of personal service]”) (internal quotation marks and citation omitted).
                 24           B.     Relief under Rule 4(f)(3) is not justified because Defendants have
                 25                  not been evasive.
                 26           Plaintiffs seem to further argue, rather perfunctorily, that Rule 4(f)(3) relief is
                 27 justified because Defendants have been “elusive” because (1) Defendants refused to
                 28 execute waivers of service of process; and (2) Pin Shine Taiwan “refused delivery of

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                    1 the Court Clerk’s service package.” [Dkt. 21-1 at 7:24-28.] This contention is
                    2 without legal and factual merit.
                    3        First, for reasons explained in Section IV.A., supra, Plaintiffs’ failure to
                    4 attempt to serve Defendants properly via means available without judicial
                    5 intervention means that Plaintiffs should be denied Rule 4(f)(3) relief as a matter of
                    6 law. See also note 7, supra (citing authorities nation-wide).
                    7        Second, Defendants have been far from evasive and in fact, are all actively
                    8 arbitrating with Plaintiffs. In fact, Pin Shine Taiwan has sought to enforce the sued-
                    9 upon agreement by filing for arbitration with JAMS (the “Arbitral Proceeding”). A.
                 10 Chen Decl. ¶ 3, Exhibit 1 (JAMS Demand for Arbitration, which contains inter alia
                 11 the “Reciprocal Independent Sales Representative Agreement” referenced in
                 12 Plaintiffs’ Complaint). [See Dkt. 1 ¶ 15.] Indeed, Plaintiffs’ attempt to subject Pin
                 13 Shine Taiwan to this Court’s jurisdiction is a blatant violation of Fourte’s agreement
                 14 to arbitrate such that Pin Shine Taiwan intends to move to compel arbitration. See
                 15 A. Chen Decl. ¶ 3, Exhibit 1 at 26-27 (arbitration clause). Moreover, Plaintiffs have
                 16 brought counterclaims in the Arbitral Proceeding against all Defendants, including
                 17 the Suzhou Defendants. Id. ¶ 4, Exhibit 2 at 4-5.
                 18          Third, refusing to sign waivers regarding service of process does not
                 19 constitute evasion. Defendants’ refusal to execute waivers are entirely consistent
                 20 with their exercise of their lawful prerogatives. See, e.g, Sheskey v. Madison Metro.
                 21 Sch. Dist., No. 12-CV-488-WMC, 2013 WL 6628990, at *3 (W.D. Wis. Dec. 17,
                 22 2013) (“While the School District still refuses to waive service of process—which is
                 23 its prerogative—there is no indication that defendant has attempted to evade
                 24 service.”). Indeed, the Court had previously expressly ruled that service of a
                 25 “waiver of service of summons packet” is insufficient for establishing the need for
                 26 judicial intervention. [Dkt. 13 at 4:23-25 (internal quotation marks omitted).]
                 27 Plaintiffs do not explain why such waivers, while not justifying relief back then,
                 28 somehow justify relief now.

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                    1        Fourth, Pin Shine Taiwan did not “refuse[]” to accept “delivery” of any parcel
                    2 from the Court’s Clerk. See note 6, supra. Pin Shine Taiwan is unaware of any
                    3 internal records regarding this alleged service attempt and in any event, the service
                    4 attempt was not addressed to any particular Pin Shine Taiwan agent, even though
                    5 Fourte knew to whom they should have addressed the matter to. A. Chen Decl. ¶ 5.
                    6        Fifth, even if Plaintiffs’ allegations regarding Defendants’ alleged elusiveness
                    7 had factual and legal merit, such allegations do not rise to the level of evasiveness
                    8 requiring judicial intervention. Illustratively, in Rio Properties, 284 F.3d at 1013,
                    9 1016, on which Plaintiffs rely, the court found that an alternative means of service
                 10 was proper where, inter alia, (1) the foreign “elusive” defendant “str[ove] to evade
                 11 service of process” by listing a false U.S. address that was not authorized to accept
                 12 service on its behalf; (2) the plaintiffs were unable to discover the defendant’s
                 13 address in Costa Rica despite searching international directory databases and
                 14 retaining a private investigator; and (3) the defendant then failed to respond to the
                 15 plaintiffs’ emergency motion for alternative service of process. In contrast, in light
                 16 of the aforesaid Arbitral Proceeding, Plaintiffs here neither contend nor can contend
                 17 that Defendants’ physical addresses are unknown or that Defendants have been
                 18 somehow “elusive” as contemplated by the Rio court.
                 19          C.     That service by email or personal delivery is the quickest method
                 20                 of service is insufficient to necessitate the Court’s intervention.
                 21          Plaintiffs also seem to argue that the Court should grant its Motion because
                 22 service under Rule 4(f)(3) will be much faster in moving the case forward. [See,
                 23 e.g., Dkt. 21-2 at ¶ 7; Dkt. 21-3 at ¶ 5]. This argument is again without legal and
                 24 factual merit.
                 25          First, for reasons explained in Section IV.A., supra, Plaintiffs’ failure to
                 26 attempt to serve Defendants properly via means available without judicial
                 27 intervention means that Plaintiffs should be denied Rule 4(f)(3) relief as a matter of
                 28 law. See also note 7, supra (citing authorities nation-wide).

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                    1        Second, “the mere fact that service of process abroad is expensive and time
                    2 consuming is generally not sufficient to demonstrate that the facts and
                    3 circumstances necessitate the district court’s intervention.” Tart Optical, 2017 WL
                    4 5957728 at *6 (citation omitted). [Accord Dkt. 13 at 4:15-17 (“Plaintiffs only argue
                    5 that the requested alternative methods of service are the most efficient and effective
                    6 methods of service, but this argument does not meet the requisite standard for
                    7 obtaining a court order.”) (citations omitted).] Otherwise, methods that are available
                    8 without judicial intervention can be skirted far too easily, contra international
                    9 agreement and comity concerns. Blue, 2014 WL 12573679, at *4; see also note 8,
                 10 supra. Moreover, while granting Rule 4(f)(3) motions under a lax standard would
                 11 make things more convenient for plaintiffs, encouraging such motion practice to
                 12 further the plaintiffs’ convenience would mean a profusion of Rule 4(f)(3) motions
                 13 that are filed without any demonstrated need, thus unnecessarily bloating the courts’
                 14 workload.
                 15          Third, Plaintiffs fail to adduce any facts that overcome the aforesaid
                 16 precedent, which establishes that mere convenience is insufficient for Rule 4(f)(3)
                 17 relief. In particular, Plaintiffs still have not “alleged any facts that show that the
                 18 available methods of service have failed to affect service, that this case is of
                 19 particular urgency requiring alternative service methods, or any other facts to
                 20 support their requests.” [Dkt. 13 at 4:20-23]. Thus, there is no justification to allow
                 21 an alternative service method and the Court should find insufficient cause to
                 22 authorize service by alternative means. See Tart Optical, 2017 WL 5957728 at *6
                 23 (denying plaintiff’s motion to authorize service by email and through defendant’s
                 24 Facebook account).
                 25          Fourth, as explained above, Plaintiffs’ alleged difficulties regarding service
                 26 are a product of their own actions (and inactions). See § IV.A., supra (explaining
                 27 how inter alia Plaintiffs’ plain refusal to follow their own exhibit’s advice seems to
                 28 be part of a deliberate effort to manufacture service difficulties to justify the instant

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                    1 Motion). Plaintiffs should not be rescued from a problem of their own making. See,
                    2 e.g., California Bd., 2009 WL 3448456, at *2 (“In this case, Plaintiff argues that the
                    3 court’s intervention … is necessary because Plaintiff's October 6, 2009 service by
                    4 mail1 may be too slow to defeat Defendant’s efforts to litigate this dispute in
                    5 Missouri. This was in large part caused by Plaintiff's decision to delay the start of its
                    6 efforts to serve from August 26, 2009 until October 6, 2009.”);
                    7        D.     Service by email is prohibited by the Hague Convention as Between
                    8               the United States and China; moreover, Taiwanese law prohibits
                    9               service by email.
                 10          Plaintiffs contend that service on the Suzhou Defendants by email is proper
                 11 because the Hague Convention, to which China is a signatory, does not prohibit
                 12 email service. [Dkt. 21-1 at 4-5]. This is untrue. The Hague Convention prohibits
                 13 effectuating service by “postal channels, directly to persons abroad” where the
                 14 destination country has objected to such means of service. Hague Convention,
                 15 Art.10(a). Plaintiffs concede that China has indeed objected to Article 10 of the
                 16 Hague Convention regarding service by “postal channels.” [See Dkt. 21-1 at 5:1-2.]
                 17 Moreover, email is a “postal channel,” or tantamount to the same. See Agha v.
                 18 Jacobs, No. C 07-1800 RS, 2008 WL 2051061, at *2 (N.D. Cal. May 13, 2008)
                 19 (finding “no policy or other basis” for drawing a distinction between email and
                 20 “postal channels”). Thus, per Article 10(a) of the Hague Convention and China’ s
                 21 objection to service via postal channels, email service of the Suzhou Defendant sis
                 22 improper as a matter of law. See id. at *1-*2 (denying motion to serve summons
                 23 and complaint by email and holding that plaintiff seeking alternative service by
                 24 email on defendants under Rule 4(f)(3) had failed to show that such means were
                 25 permissible under the applicable international agreement, as Germany was a
                 26 member of the Hague Convention and had filed its objection under Article 10 to
                 27 service through postal channels, and email could not be distinguished from “postal
                 28 channels”). Similarly, Taiwanese law prohibits service by email for purposes of

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                    1 foreign litigation, W. Hsieh Decl. ¶ 3, such that the Court should deny Rule 4(f)(3)
                    2 relief as to Pin Shine Taiwan.
                    3 V.      CONCLUSION
                    4         Defendants respectfully request that this Court issue an Order denying
                    5 Plaintiffs’ Motion for an Order Authorizing Alternative Methods of Service by
                    6 email to Defendants’ alleged principal and/or by email and personal delivery to
                    7 Defendants’ alleged California counsel. Plaintiffs have never sought in good faith
                    8 to serve Defendants via available methods, and instead, have sought to manufacture
                    9 alleged service difficulties to justify judicial intervention. Plaintiff’s Motion is
                 10 therefore without merit and improperly prioritizes Plaintiffs’ own convenience over
                 11 the Court’s. Moreover, as explained supra, Plaintiffs’ lawsuit before this Court is a
                 12 blatant breach of Fourte’s obligation to arbitrate, and Pin Shine Taiwan intends to
                 13 move to compel arbitration as to the above-captioned matter. Thus, if the Court
                 14 relaxes the standard for Rule 4(f)(3) relief and grants the Plaintiffs’ Motion, the
                 15 Court risks undermining the parties’ arbitration agreement and unnecessarily
                 16 complicating the instant proceedings while inviting additional frivolous motions for
                 17 alternative service.
                 18                                            Respectfully submitted,
                 19 Dated: November 19, 2018                   ZUBER LAWLER & DEL DUCA LLP
                 20
                                                        By:    /s/ Alan C. Chen
                 21                                            Alan C. Chen
                 22                                            Heming Xu
                                                               Attorney for Defendants
                 23                                            Pin Shine Industrial Co., Ltd.,
                 24                                            Suzhou Pinshine Technology Co., Ltd.
                                                               Suzhou Sunshine Technology Co., Ltd.
                 25                                            acchen@zuberlaw.com
                 26                                            hxu@zuberlaw.com
                 27
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